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                   UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Richmond Division

JAMYCE VINSON,              )
                            )
          Plaintiff,        )
                            )
v.                          )                 Civil Action No.: 3:22-cv-698-MHL
                            )
CITY OF RICHMOND, VIRGINIA, )
                            )
                Defendant.  )

              STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiff, Jamyce Vinson and Defendant, City of Richmond, Virginia, through their

respective counsel, hereby stipulate that this action and all claims asserted herein

are dismissed with prejudice, with the consent of all parties and with each party to

bear its own costs and attorney’s fees. This Court shall retain jurisdiction to enforce

the terms of settlement if any dispute should arise.

      This 8th day of May, 2024.

WE ASK FOR THIS:

 PLAINTIFF:                                 DEFENDANT:

  /s/ Tim Schulte                            /s/ Wirt P. Marks
 Tim Schulte (VSB No.: 41881)               Wirt P. Marks (VSB No.: 36770)
 Shelley Cupp Schulte, P.C.                 Deputy City Attorney
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 Attorneys for Plaintiff
                                            Attorneys for Defendant
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 8, 2024, I will electronically file the foregoing
document with the Clerk of the Court using the CM/ECF System, which will then
send a notification of such filing (NEF) to the following:

Wirt P. Marks (VSB No.: 36770)
Deputy City Attorney
900 East Broad Street
Richmond, VA 23219
Wirt.marks@rva.gov




                                             ___/s/ Tim Schulte_____________
                                             Tim Schulte (VSB# 41881)
                                             Shelley Cupp Schulte, P.C.
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